Case 2:06-cv-00535-ROS Document17-11 Filed 03/06/06 Page 1 of 4

Flynn Files - Ultimate Warrior Interview Part II Page 1 of 8

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INTERVIEW WITH THE ULTIMATE WARRIOR - . a by
PART 3 OF 4 an Flynn

You can reed part one of the series here. Part hwo of the series is here.

IHTELLEGTUAL
FLYNN | : There was'a guy on WCW TV, after they bring in Hogan and Savage, they bring in
is ZUy...

uy MORONS
WARRTOR |: Renegade. &

FLYNN |: Yeah. Now, were you flattered or pissed-off by this? HOW IDEOLOGY MAKES
SMART PEOPLE

WARRIOR): I don't know... never watched TV when I was out of the business, so I didn't FASS EGA

see If until somebody at my gym told me about, I don't know if I'd say it was flattering, It's STUPIC IDEAS

been a long time ago but I was probablya little pissed off. But it does validate the strength of

the Ultimate Warrior character's success and his impact on the business, Just like when DAHIEL J, FLYRH

organizations drop his name today. | mean, you can’t hear or read the transcript of one fortes ot BO DALLAS MATE TE

wrestling related program, radio or internet or whatever, without someone calling in and
asking: “What about the Ultimate Warrior?” I did think Hogan and the others who came up
with the scheme really believed that I would see them making this attempt to replicate The
Ultimate Warrior and I would see it and go, "You motherfera! I'm the damn Ultimate
Warrior! How dare youl” and then, like, show up unannounced at the next TV taping with my
gear bag laying claim to what was mine (laughs).

FLYNN |: And you really think they had that scheme in mind—that you showing up to
defend yourself is the way it would.play itself out?

WARRIOR |: Hell, yes. These guys are still on the streets working their gimmicks, all the
time TV orne- TY,

FLYNN |: Uskipped over something—the lawsuit with WWF.

WARRIOR |: It's alot to skip over and probably too much to, in this interview, cover in
any decent respect. In 1996 1 went back to work for Titan [WWF] after having had two
previous contractual fallouts with them in 'o1 and "92, Shortly after I came back here in ‘96,
they violated the terms of my contract. The first tvo times, being a person who was never
afraid to set other goals, do other things, without doubt and confident of that, just wenton

recommended

my own way. Thinking positive and giving thanks to the opportunity and wonderful ayndicate this site:
experience of it all, But here in "96 it was different and other things of value, and of value to

ime, were on the line. So ves, in "96 litigation with Titan began aan
FLYNN |: What was the lawsuit about and what was the outcome? site design:

WAREION : Primarily, it was about breach of contract. They violated the terms of the ‘96
agreement we had. Vince called me at the end of 1995—I'd been out since 1992~—and wanted
ine te come back to wrestling because the business neaded a lift, and I guess, he had hed the
time te reconsider how he'd wronged mein 1992, using me and Davey Boy Smith as
scapegoats to take the heat off his back when he was federally prosecuted over the steroid 5 *1iLoiee
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Case 2:06-cv-00535-ROS Document 17-11 Filed 03/06/06 Page 2 of 4

Flynn Files - Ultimate Warrior Interview Part III

When he called I waz already up te my neck in my own entrepreneurial projects using the
Warrior intellectual property. Basically, I just told him no, especially if it was to be under a
generic contract. There was no way T could do that after all the investments F'd made since
leaving the ring, Linda called me, his wife. Of course, | knew Linda because IT had met her
before out at their house, at Titan. I don't know really how much she did business wise before,
my business was handled with Vince really. But somewhere in the 19908, she took a more
active role, then eventually became CEO.

She called me and said, “Can I meet with you?” So she came out to Phoenix and I just got the
impression that it would really be different this time. So T said, “Look, I can’t come back
under a generic contract. I need a special contract. I got all these other projects going on. I got
my gym, which is becoming a private facility—maybe to train guys who want to get in the
business. I got my big comic book project I want to turn in to an animated movie, gat my mail
order business, ete, I can't just up and leave these things.” I said, “This is what I'll do. T'll come
back, I'll be the wrestler. You can sell the t-shirts, the posters, you can make the money from
the ticket sales. You give me a price for that. But I get to plug into your merchandising and
networking with my other Warrior projects. And there's got to be a distinction between my
new intellectual properties that I've developed, and those that represent who the wrestler is.
So, we had our distinct agreement and four months after I came back they just started
violating it, They didn’t give a shit. And it tums out they never were going ta Jive up to it.
Screwing me again was premeditated,

FLYNN |: So did you sue them, or did they sue you?
WARRIOR): I sued them.
FLYNN |: 30 what happened in the suit?

WARRIOR| : The short answer ts that [ prevailed. Beyond that, [leamed alot about
myself and lite and my own integrity, I found outa lot I do not like about other people,
especially the professional, expert suits in the world who get unchecked approval just because
of who they are. Lam more skeptical and cynical of others. I matured much, became a better
man and came to know how I would define being one. I found out that it is never wrong to
fight for what is right—never. In ways, having the experience has. set me on the path I am
now.

FLYNN | : And when was the date of that?

eSnaIOe : March, 2000, and then I fought my own lawyers for over.a year, because
ey did an unbelievably corrupt turn and tried to screw me out of rightful settlement. I hung
in there and beat them too, It was'a rough five years.

FLYNN |: So now, you have the right to “Warrior,” “Ultimate Warrior’?

WARRIOR]: Yeah, I have all the intellectual property rights and everything to it. I always
id, the lawsuit was necessary to prove it, to put to rest Titan's fallacious claim that they did,
Although just one aspect of the litigation, it was important from the stand point—a standpoint

many don't want to understand—that I had worked hard to create it and make it what it was
and wanted to be able to, should be able to, use it to do other business things outside of the
ring—down the road at a different time in my life. Christ, what was 1 supposed to do: just lay
down and give over all the work, sweat, toil, and value? Critics are so narrow-minded, like,
"Yeah, he fought for it just so he could always have itas a momento of his wrestling days.” The
intellectual property is worth more than the memory of my career there. That chapter in my
life signifies something about the whole of my life, what my life and the way I think about it
and live it means to me. Of course, too, my full legal name isthe one name of Warrior, and my
family has it as their surname. It signifies the philosophy of life I live by,

FLYNN | : Let's move forward to WCW.

WARRIOR |: That was in '98, in the middle of my lawsuit against Titan, [Eric] Bischoff

http://flynnfiles.com/blog/warrior/warrior3.htm

Page 2 of 8

06/24/2005

Case 2:06-cv-00535-ROS Document17-11 Filed 03/06/06 Page 3 of 4

Flynn Files - Ultimate Warnor Interview Part ITI Page 3 of 8

called me about coming to work there. I think Hogan called me too. I guess they were
surprised the Renegade fiasco didn’t drive me to make that mad dash to the ring they
expected it to. Titan got wind of them contacting me about a return and rushed into the court
and filed a brief making even wilder and broader claims about negotiations than even I knew
myself, in an attempt to prevent it, In their brief they made the claim that I, Warrior, didn't
own the Ultimate Warrior—that they did, that they owned the intellectual property,

So we had to file a response to it. What happened out of those two briefs being filed was that
came forward and proved through photes and footage—copyrighted footage I owned of the
Dingo Warrior—that Dingo Warrior was really just a nascent version of the Ultimate Warrior
that I all along owned it, even before I went up to Titan. The judge said look, there’s no
question that Warrior owns the character “Warrior"—all the trademark indicia, all the
mannerisms, and everything else—he had indisputably created it and was performing the
Warrior persona before he even came up to Titan. Vince though had a couple of his cronies
file affidavits telling a contrived story that they came up with and provided “Ultimate.” So the
judge decided that as the trial played itself out, what the truth about that sperific matter
would be determined then. So that’s why when I went to WCW in 1998, it was only under
“Warrior,”

FLYNN |: What did you spend, afew months in WCW?

WARRIOR}: About three months. I hada six month contract, and believed, was misled to

elieve, that we'd move into working with one another much longer than that. Actually, right
from the start, they pushed fora one year contract, and I kept it at six. In hindsight, they
never had any intention of going beyond Halloween Havoc and the one single match with
Hogan—and that was, like I said, only three months into the six month contract. What
basically happened was [Eric] Bischoff used Turner's checkbook—Hogan called it the
[Turner] ATM machine—to bring me in to soothe Hogan's ego about 'go, even the score, catch
the pin-fall on UW (laughs).

FLYNN | : Ultimately, obviously, WCW gets absorbed by WWF. It fails.
WARRIOR| : Yeah, as soon as! got there I realized it was falling apart. It was inevitable,
FLYNN |: Why did it fail?

WARRIT OR|: Bottom line is nobody was in charge. Bischoff—as much as he was credited
for rebuilding and reinvigorating WCW when they were happening—while I was there, he
literally ran from the responsibilities of the job. I don't know if it was anxiety or what. But he
had this thing about “spontaneity” as he would say, and there was no advance preparation.
You couldn't reach him all week. About an hour and a half before live show-time, Bischoff and
his “yes” guys—all of them playing favorites for their own buddies—would get together and
start deciding, then, what to do. It was erratic and destructive, shooting from the bip like that.
Somebody has to be in charge overall. At WCW, at that time, every talent did whatever they
wanted to. There has to bea chief in charge of sorts. Someone who makes it clear what the
hierarchy of talent is—who goes over, who shines, how talent is going to come off in the
programs, on the TV.

In WWF, that happened. In WCW, everybody went out and did what they wanted to do
regardless of their ability to sell tickets or where they stood on the talent roster. If I'm in the
ring and I'm punching ata guy and he doesn't want to sell or take bumps, yet in the next
segment he’s selling for his bottom-of-the-card buddy, like he's trying to stand on banana
peels, it locks ridiculous. A guy has to know his spot and work it. Too many there that were
middle-card guys didn’t know they were—nobody acting with authority told them. In the end
it's about making money and in the beginning someone with authority has to lay it out about
how a talent is getting used, let others know, in an essence, the investment being made and
how that investment is to be treated—come off, be portrayed in the ring.

Say what you want, and others can think whatever they will—and naturally the business has

changed in so many ways since then, but when I went over there in '98, Ultimate Warrior was
a Main-Eventer and I can assure that is the kind of investment they made, My first 14 minutes
in the ring, after another long, long absence, proved that beyond any reasonable doubt. It was

http://flynnfiles.com/blog/warrior/warrior3.htm 06/24/2005
Case 2:06-cv-00535-ROS Document17-11 Filed 03/06/06 Page 4 of 4

Flynn Files - Ultimate Warrior Interview Part III

alaunching pad WCW could have used to take Ultimate Warrior to a whole other level. But
they didn't want to do the work, put the time in, They were already convinced reaching for the
lowest, degenerate level of creativity was where it was at. And as much as I was willing to give
it whatever it would have took, you need a whole team of people behind you.

FLYNN |: You haven't wrestled since then. Has anyone approached you to come back since
then, like the Jarrett outfit?

WAR EIOR| : Yeah, when they first started up they did—others too, mostly dreamers. I
spoke with both Jeff and his dad. They, the Jarretts and others, always present themselves
like they think I'm sitting at home drooling for a chance to charge at the ring and that I should
be grateful that they called, like, allowing mean opportunity to do so. Blows me away. Of
course, that is how most other guys still working, outside WWE, are. They don't know
anything else, are afraid to go out and attempt anything else and get all their self worth from
being in a ring, staying part of the circus of it all. They don't have any other means of making
a living for themselves so when anybody calls and says jump they say how high and when
their feet hit they ask about how far to bend over.

This type of attitude they have though, these promoters, like the Jarretts had when they
called, creates. a problem when it comes to negotiating with me. This bas contributed to many
tiischaracterizations. They get offended when they realize I know how valuable the Ultimate
Warrior is and if they want him he isn't going to come cheaply. They don't get away without
discussing those details with me like they do with others, which is to say they don't really
discuss them in detail at all with others. It's like, "Hey, we have a ring set up and are going to
put your face on TV for a little while, come on down and we'll figure what we'll pay you
afterwards.” That's enough for most guys looking for work not doing anything else, That
doesn’t work for me.

Another thing with the Jarretts, in the initial conversations, was that they told me they were
going to go in a different creative direction, not so heavy on the degenerate, shock-value
provocativeness. It became clear the more I paid attention to what was going on through the
grapevine that they weren't being honest about that. So, I pulled back after that too. And it
also became clear very soon into discussions that Jerry was really getting involved sorta to get
Jeff his own little clubhouse, where he could play and be king. So that Jeff could have a place
to live out his own “get-over” dream.

FLYNN| : When you look back, who are the biggest egos you've come. across in the business
an

who are the genuine good guys you've come across in the business?

WARRIOR |: Wow, the list would be long. I would probably say, to be honest, I'd begin

with me (laughs)! I have a huge ego when it comes to the Ultimate Warrior and standing up
for him. Most will agree with me here (laughs), Hey, like | always say: “If 1 don't doit for him,
who will?" Then again, I don’t define ego altogether in bad way. I think there's difference
between a healthy ego and unhealthy one, and having a healthy ego is a necessary thing if you
want to succeed, even just to survive at life really. It's a must and J don't make any apologies
about having one and don't sit quietly by when others want to universally claim that “ego” is a
bad, mean thing, It's not.

I think 2 healthy one is defined by a person, especially a guy, who, even if he's done really
ereat things, can acknowledge and praise others who are or have done things just as great or
even greater. Guys who are comfortable in their own skin about what they have done—who
they are. There are alot of guysin pro sports, especially the backstabbing one such as
wrestling, who are so full of themselves they don't have it in them to tell when someone else
has done good. Using the example of a current guy, I'd say Goldberg has an unhealthy ego,
Obviously, he’s talented and made a way in the business. I even told him as much when I was
at WCW. But the guy has got a huge insecurity complex running through him and others like
him—Nash and Hall and their clique. That says alot to me about his, or their, character as
men. Shows me they've got a really weak link in their masculine makeup no matter what
macho image they put forth. Nash is the type of guy who would shit in your bag to ruin your
day—literally. Nash and Hall and Hunter and Michaels—all those guys.

Some of the good guys I've met are guys whose names you wouldn't even recognize. They

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Page 4 of §

06/24/2005
